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EXHIBIT
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COUNTY OF LOS ANGELES
OFFICE OF THE COUNTY COUNSEL

648 HALL OF ADMINISTRATION
500 WEST TEMPLE STREET
LOS ANGELES, CALIFORNIA 9OOl2

 

TELEPHONE

(213) 974-1903

TELECOPIER
DE WITT W. CLINTON, COUNTY COUNSEL (213) 626-2105

August 11, 1992

Paul Hoffman, Director

ACLU Foundation of Southern California
1616 Beverly Blvd.

Los Angeles, CA 90026

Re: Rutherford Joint Status Report
Dear Paul:

Enclosed are two modified Joint Status Reports without
attachments. One version shows deletions in strikeexut and
additions in 3 5, and the other has only the revisions with
no indication of strikeout or redline. Both contain all of your
requested changes except as follows:

  
 

I did not add the Sybil Brand or Dillard decisions as
suggested because they are referenced to published official
citations.

I modified your suggested addition to page 7, line 18 to
read "and providing constitutionally adequate health care to all
inmates in his custody."

I suggest we wrap this up at our next meeting on August 17,
1992. We also need to discuss the particulars of the planned
tours and a strategy to convince these other jails that they
shouldn’t be afraid in include ACLU attorneys in the tour. I
have a draft letter in this regard being reviewed by Chief Ciulik
and Jake Katz.

Very truly yours,

DE WITT W. CLINTON
County Counsel

 
 
 

 
   

 
  

DERI
Assistant County Counsel

Cc: Chief Robert Ciulik

Ruth2:JTStat2.Ltr

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DE WITT W. CLINTON

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Attorneys for Defendants

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

DENNIS RUTHERFORD, et al., CASE NO. CV-75-4111
Plaintiffs, Joint Status Report

Vv.
SHERMAN BLOCK, et al.,

Defendants

 

 

The present action was filed by the American Civil Liberties
Union Foundation of Southern California (ACLU) in 1975 invoking
jurisdiction under 28 U.S.C. §1343 for a claim under 42 U.S.C.
§§1983, 1985, and for injunctive and declaratory relief pursuant

to 28 U.S.C. §§2201, 2202, as a class action on behalf of all

 

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present and future inmates challenging a wide range of conditions
of confinement at the Los Angeles County Men’s Central Jail.

The class was certified and the matter proceeded to trial.
After trial, the United States District Court Judge William P.

Gray, filed a reported decision, Rutherford v. Pitchess (C.D. Cal.

1978) 457 F.Supp. 104 (Attachment 1'), and in an unreported
supplemental memorandum opinion filed February 15, 1981
(Attachment 2), and a Judgment dated February 15, 1979
(Attachment 3), imposing nine (9) orders at Mens’ Central Jail
concerning (1) beds, (2) visitation, (3) outdoor recreation, (4)
indoor recreation, (5) restoration of windows, (6) processing for
court, (7) cell search procedures, (8) time for meals, and (9)
changes of clothing. By order filed January 5, 1979, a separate
tenth (10th) order was filed approving and directing
implementation of a plan for the improvement of telephone
facilities in the jail.

Three of these orders, visitation, restoration of windows,
and search procedures, were appealed to the Ninth Circuit, which

reversed the order concerning restoration of windows (Rutherford y.
Pitchess (9th Cir. 1983) 710 F.2d 572) [Attachment 4]}]), and to the

United States Supreme Court, which reversed the visitation order
insofar as it required contact visitation, and the search

procedures order (Block vy. Rutherford (1984) 468 U.S. 576, 104 S.Ct.

3227, 82 L.Ed.2d 438 [Attachment 5]).

 

1 Referenced opinions are reproduced from the published

reports or from the Joint Appendix filed with the United
States Supreme Court in Block v. Rutherford (1984) 468 U.S. 576,
104 §.Ct. 3227, 82 L.Ed.2d 438.

 

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The Sheriff has never been able to fully comply with one of
these orders concerning processing for court, and that provision
has been the subject of many motions for modification and
enforcement, and on December 16, 1987, District Court Judge Gray
approved a plan which ultimately lead to a jail population
management order discussed below, which suspended for at least
six months the orders concerning processing for court. The court
processing orders remain suspended.

An unreported memorandum of understanding in other

litigation initiated by the ACLU, the Sheriff

 

agreed to work toward obtaining state licensure of the jails

health care delivery system, which has not yet been accomplished.

 

 

Through 1985, none of the orders technically affected any

jails in the multi-facility Los Angeles County jail system except
Mens’ Central Jail, although orders had been issued concerning
other jails in the system in litigation brought by the same
attorneys representing the class in the Central Jail litigation.
Orders concerning the main Women’s jail, Sybil Brand Institute,

were obtained in a state court proceeding, Inmates of Sybil Brand vy.
Pitchess (1982) 130 Cal.App.3d 89, and concerning the Mens Hall of
Justice Jail in Dillard y. Pitchess (C.D. Cal. 1975) 399 F.Supp. 1225,

and by subsequent stipulated agreements approved by District

 

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Court Judge William P. Gray. However, it was the Sheriff’s
practice to attempt to implement orders directed at any one
facility system-wide, and discussions between the parties
generally focused on the system rather than on any particular
facility.

Beginning in 1985, the Sheriff began experiencing difficulty

in complying with the various jail orders—as—a—resutt

 

 

of unprecedented and unexpected increases in the jail
population. During the 1980’s the jail system population almost
tripled from about 8,000 to over 23,000. As alternatives to
contempt proceedings, the parties entered a number of memorandums
of understanding, which are summarized in a letter to Los Angeles
Municipal Court Judge Richard A. Paez, dated June 15, 1988
(attachment 5), and which ultimately lead to United States
District Court Judge William P. Gray approved stipulated
population limits at each of the jail facilities in the jail
system (except the newest facility, the North County Correctional
Facility, as to which there is only an understanding of the
parties), and a Court imposed jail population management order
which directs the Sheriff to “manage the jail system within those
capacities by discharging or citing inmates to court upon a
written promise to appear, according to priorities that he shall
establish." (See Attachment 6). Using this authority, the
Sheriff has generally managed the jail system within the
stipulated jail facility capacities by using a variety of
criteria for releasing or citing inmates to court as needed.
Since 1985, the ACLU has continued to monitor the Sheriff’s

compliance with the various orders, and the parties have met

   

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regularly since 1985. During this time, the parties have been
able to agree to appropriate attorneys’ fees for such monitoring
efforts which are periodically submitted to the District Court to
be ordered without hearing or objection, and to various plans for
dealing with periodic difficulties of compliance which have been
either reported to United States District Court Judge William P.
Gray orally in periodic status conferences, in periodic written
status reports, or submitted to him for modification orders.

Current meetings and discussions have largely centered on
the jail’s health care delivery system.

This cooperative process has worked well for almost a
decade, with the parties meeting regularly, providing the court
with periodic status reports, and seeking United States District

Court intervention or approval as necessary.

To assist the District Court, the—parties—stipuiate—and
hat—t} . 1 sified 4 5 i

 
    

as follows:
1. Beds. Every prisoner kept overnight in the jail
will be accorded a mattress and a bed or bunk upon which to
sleep. This order shall not preclude the defendants from
permitting inmates to be housed with full bedding but
without a bunk, for one night only, if, in the defendants’
judgment, such inmate or inmates require more secure housing
than is provided in the available areas and the appropriate

housing does not have a sufficient number of bunks.

 

Further, this order shall not apply in the @vent of an

emergency causing a sudden and unusual intake of prisoners,

 

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in which case full bedding shall be provided and the
defendants will exercise their best efforts to provide bunks
for all inmates as soon as possible. (Attachment 2,

Judgement, para. 1).

 

2. Visitation by Children of Prisoners. Upon prior
request from a prisoner, his minor children over the age
over the age of twelve (12) years shall be permitted to
visit him unaccompanied by an adult. (Id., para. 2).

3. Outdoor Recreation. All prisoners except those
that are hospitalized, in disciplinary segregation, those
under the jurisdiction of medical staff of the Forensic
Mental Health Unit who such medical staff determine are
appropriate for roof recreation, and except for those high
security inmates who the Sheriff believes cannot safely be
permitted roof recreation shall be allowed not less than two
and one-half hours of outdoor exercise or other recreation
per week. (Id., para. 3).

4. Indoor Recreation. Television sets shall be
installed and reasonably maintained in each day room. (Id.,
para. 4).

5. Telephones. Primarily collect and some pay
telephones shall be installed in each jail facility to
permit all inmates reasonable access to telephones. (Id.,
para. 7, as modified).

6. Time for Meals. An inmate shall be allowed not
less than fifteen minutes within which time to complete each’
meal. (Id., para 9).

7. Change of Clothing. Each inmate shall receive at

 

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least twice each week clean outer garments, undergarments,
socks and a towel in exchange for those that he has been
using.

8. Jail Population Management. The maximum inmate
population at each of the listed facilities, subject to
modification upon addition of new facilities, is set forth
below and the Sheriff shall "manage the jail system within
those capacities by discharging or citing inmates to court
upon a written promise to appear, according to priorities

that he shall establish" (Attachment 5):

 

Jail Facility Court Approved Capacity

 

Mens’ Central Jail 6,800 ~ 7500 §

Permanent housing

   

 

 

 

 

 

 

Inmate Reception Center 700 Inmates?
Los Angeles Medical Center 50 Inmates
Hall of Justice Jail 1,800 - 2100 |
Biscailuz Center 1,470 Inmates
North County Correctional 3,120 ~ 3600 |

  

 

 

 

Facility

 

 

# The normal agreed population limit is 6800 inmates.

However, the parties and the Court have approved permitting
this jail’s population to temporarily exceed 6800 to as much
as 7500 on occasion for short periods of time wh

necessary. Similar—geak and—permissibte

capacities are identified for certain other facil

    
   
  

3 There is no prior court order concerning this capacity.

However, this number reflects the average number of inmates
being processed in the Inmate Reception Center at any one
time, and the number of inmates in the Inmate Reception
Center are reported on the daily count sheets used by the
parties to monitor the jail population.

“Since this facility was built after the original inmate
population capacity agreements were adopted, there has been
no prior formal approval of these limits.

 

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PHR-East 1,786 - 1800 |
PHR-North . 1,600 - 1650 :
PHR-South 1,900 - 1950
PHR-Ranch 2,366 Inmates
Mira Loma Male Facility 1,089 Inmates
Mira Loma Female Facility 854 Inmates
Sybil Brand Institute for
Women 2,064

Total 25,599

9. Health care system. The Sheriff shall work

towards obtaining State licensure of all jail health care

facilitie

 
   

and in furtherance of
that effort:

A. A joint Sheriff/ACLU team, including a
mutually acceptable outside expert, will visit mutually
acceptable jail medical care facilities such as Cook
County (Chicago), Illinois, and Riker’s Island (New
York), for the purpose of identifying practical and
appropriate ways of providing adequate jail medical
care, and to provide a baseline for evaluation of the
Los Angeles County system.

B. After the visit, the team will meet to
identify necessary improvements to the Los Angeles
County jail medical care system, and to prioritize
those improvements to be implemented over time,
(assuming that there are insufficient available
resources), and to establish a reasonable time frame

for implementation.

 

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Cc. During this process the Sheriff will continue
efforts to make short term improvements to meet the
most serious deficiencies identified in the most recent
State licensure inspection report.

10. Administrative Remedy. When any inmate has

information that he believes to disclose a violation o

 

jail condition orders order, he may set forth that
information in writing to the Commander of the jail who
shall cause an investigation thereof to be made as soon as
reasonably practicable, and in any event within ten days
following receipt of such written statement. Promptly
following the completion of the investigation the Commander
shall deliver a written reply to the inmate indicating what,
if any, action, has been taken concerning the inmate’s
complaint and what, if any, action has been taken to prevent
violations of this judgment. Absent unusual circumstances
indicating compelling reasons why following this procedure
would result in substantial prejudice to the inmate, no
petition for a judgment of contempt for violation of this
order shall be entertained by the court until the inmate
first complies with this administrative procedure. In
considering any petition for contempt for violation of jail
condition orders order, the court shall take into account
the appropriateness of any action taken by the jail
Commander in response to information provided him in
accordance with this procedure. (Id., para 11).

11. Emergencies. In the event the Sheriff or his

authorized representatives have reasonable cause to believe

 

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Date:

Date:

Date:

there exists facts showing a serious imminent threat to the
security of the jail; or the safety of any persons therein

that would occur if any of the provisions of—this—deeisien

 

were enforced and there is insufficient

time to seek a formal modification or exception to such
provisions, the Sheriff may temporarily suspend such jail
condition orders as may be necessary to overcome or reduce
such threat for a period not exceeding five court days,
provided he submits a statement in writing to this court
setting forth what he has done and why he has done it.

(Id., para. 12).

IT IS SO STIPULATED:

 

Frederick R. Bennett
Assistant County Counsel
Attorney for Defendants

 

 

Paul Hoffman

Legal Director

ACLU Foundation of Southern Calif.
Attorney for the Plaintiff Class

IT IS SO APPROVED AND ORDERED:

 

United States District Court Judge

 

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